    Case 6:06-cv-06283-HO    Document 59     Filed 10/18/07   Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON

JOHN TAYLOR                                    Civ. No. 06-6283-HO

                Plaintiff,                     ORDER

     v.

KEIZER POLICE DEPARTMENT, et al.,

                Defendants.


     Defendants removed this action from the Circuit Court of the

State of Oregon for Marion County.         The complaint includes a

Section 1983 claim for violation of the Fourth Amendment of the

United States Constitution, and state law claims for false

imprisonment, negligence, battery and intentional infliction of

emotional distress.1   Defendants filed a motion for summary

judgment.    Plaintiff filed a motion for leave to file an amended

complaint.    Defendants styled a portion of their reply brief as a



     1
      Plaintiff concedes his claims for violation of the Fifth
and Fourteenth Amendment.
     Case 6:06-cv-06283-HO   Document 59    Filed 10/18/07   Page 2 of 8



motion to strike plaintiff's evidence.        The court will consider

defendants' arguments that plaintiff's evidence is inadmissible.

The court will not strike the evidence from the record, however.

For the reasons that follow, defendants' motion for summary

judgment is granted as to plaintiff's claim for violation of 42

U.S.C. § 1983, and otherwise denied; plaintiff's motion for leave

to file an amended complaint is denied without prejudice as

provided herein; and plaintiff's state law claims are remanded to

the Circuit Court of Oregon for Marion County.

                               Discussion

      Summary judgment is appropriate if there are no disputed

issues of material fact and the moving party is entitled to

summary judgment as a matter of law.        Fed. R. Civ. P. 56(c).         In

the posture of this case, leave to file an amended complaint is

freely given when justice so requires.        Fed. R. Civ. P. 15(a).

I.   Defendants' Objections to Plaintiff's Evidence

      Defendants urge the court to ignore paragraph four of

plaintiff's declaration, because the statements in the paragraph

contradict plaintiff's deposition testimony.          Plaintiff's

declaration may explain an honest discrepancy, and is not

inconsistent with paragraph seven of the complaint.           Plaintiff

has not created a sham disputed issue of material fact to avoid

summary judgment.    The court does not disregard this portion of

the declaration.    See Leslie v. Grupo ICA,198 F.3d 1152, 1157-58


2 - ORDER
      Case 6:06-cv-06283-HO   Document 59    Filed 10/18/07   Page 3 of 8



(9th Cir. 1999).

      The court disregards the hearsay statement in paragraph

eight of plaintiff's declaration that plaintiff's doctors

diagnosed tinnitis and permanent hearing loss.

II.   Undisputed Facts

      Except where noted, the following facts are undisputed.

      On September 18, 2004, Officers Jeffrey Johnson and Jeffrey

Goodman of the City of Keizer Police Department were on patrol in

separate marked vehicles.      At 3:39PM, the officers responded to a

dispatcher's report of an armed robbery.         The dispatcher reported

an armed robbery at a Best Buy Food Mart.          The dispatcher

described the suspect as a white adult male, mid-30's, 5'8" tall,

medium build and wearing a brown leather jacket and black pants.

      The suspect fled with cash southbound on River Road North

(River Road).    The Best Buy Food Mart is located on the west side

of River Road.

      The officers traveled east on Dearborn Avenue and approached

River Road at a high rate of speed.         Johnson observed plaintiff

standing at the northeast corner of River Road and Dearborn

Avenue, about one block south the Best Buy Food Mart.             According

to Johnson, plaintiff appeared approximately 5'8" in height, of

medium build, wore a brown leather jacket and black pants, and

held a plastic bag.      According to Johnson, the bag appeared heavy

because it was stretched, the contents of the bag were not


3 - ORDER
    Case 6:06-cv-06283-HO     Document 59   Filed 10/18/07   Page 4 of 8



identifiable, Johnson believed the bag might contain a weapon, no

other pedestrians were in the area, and plaintiff turned away

from him to the west and placed a hand in his pocket, "possibly

for a weapon, the gun used in the robbery."         Plaintiff admits

that he is 5'9" tall, he wore a brown leather jacket and black

pants, he held a clear plastic bag in his hands, and he was the

only pedestrian in the area.

     Goodman heard Johnson radio that he observed the suspect.

Goodman drove to the right of Johnson's patrol car, came up over

the curb and stopped.       The officers did not activate sirens or

overhead lights en route.

     The officers gave verbal commands and Goodman approached

with his weapon at a 45 degree angle to the ground.           Plaintiff

turned to look at the officers and got down on the ground,

placing the plastic bag under his face.        Goodman activated the

overhead lights on his patrol car after plaintiff had begun to

obey Johnson's orders.       Johnson did not form the opinion that

plaintiff was going to flee.       Plaintiff contends he was unaware

of the officers' presence until Johnson spoke to him, he was

passive and he obeyed Johnson's commands.

     According to Johnson, plaintiff began to get up as the

officers approached, and Johnson placed his foot on the middle of

plaintiff's back and commanded plaintiff to remain on the ground.

According to plaintiff, Johnson placed his foot on plaintiff's


4 - ORDER
       Case 6:06-cv-06283-HO   Document 59     Filed 10/18/07    Page 5 of 8



back and forcibly pushed plaintiff down as plaintiff began to lie

face down in response to Johnson's command to do so.

       For officer safety, Johnson used the side of his right foot

to sweep the plastic bag aside to his left, away from plaintiff.

Plaintiff states that Johnson's right foot contacted his left

eyebrow area.     Johnson maintains that his foot remained in

contact with the ground.       Johnson does not contend that his foot

did not contact plaintiff's eyebrow area.            Johnson did not ask

plaintiff to lift his head before sweeping his head to remove the

bag.    Plaintiff' eyeglasses were damaged during the encounter

with Johnson.

       Goodman handcuffed plaintiff.         The officers moved plaintiff

into Johnson's patrol car.       The officers obtained plaintiff's

identification.      Plaintiff explained he was walking home from

Walgreens which is located a short distance north on River Road.

Johnson explained that plaintiff matched the dispatcher's

description of the robbery suspect.          The officers communicated

the plaintiff's name and identifying features to the dispatcher.

The dispatcher reported no warrants for plaintiff.                Johnson and

Goodman arranged to have another officer transport the robbery

victim to identify plaintiff.       The victim advised that the

perpetrator of the robbery was younger than plaintiff.                Johnson

immediately uncuffed plaintiff.        Johnson drove plaintiff to an

optometrist's office, but the office was closed.                Johnson then


5 - ORDER
       Case 6:06-cv-06283-HO   Document 59   Filed 10/18/07   Page 6 of 8



drove plaintiff to his residence and gave him a business card.

Plaintiff had no visible injury and complained of none.

       According to Johnson, plaintiff's only complaint was that

his eye glasses were bent.       Goodman observed that plaintiff's eye

glasses were bent slightly.       According to Goodman, there were no

marks on plaintiff's face.       Plaintiff did not complain of pain or

injury to the officers.2

       Plaintiff contends that he continues to experience ringing

in the ears and headaches following this incident.

       Plaintiff was cooperative.      The officers did not observe

plaintiff violate any law.

       Exhibit A to the Mowery Declaration is a video recording of

a portion of the officers' contact with plaintiff on September

18, 2004.       Plaintiff was on the ground for less than one minute.

The dispatcher reported no outstanding warrants for plaintiff

approximately six minutes into the stop.         The robbery victim

arrived on the scene at approximately 8 minutes into the stop.

Less than ten minutes into the stop, the officers informed the

dispatcher they were giving plaintiff a ride home.

III.       Discussion

       There is no evidence to support plaintiff's claim for



       2
      Plaintiff denies that he only complained of bent glasses,
that his face bore no marks, and that he did not complain of pain
or injury. Plaintiff produced no admissible contrary evidence,
however.

6 - ORDER
    Case 6:06-cv-06283-HO   Document 59     Filed 10/18/07     Page 7 of 8



municipal liability for violation of Section 1983.             The evidence

is insufficient to support a Section 1983 claim for excessive

force against the officers.    Viewing the evidence in the light

most favorable to plaintiff, the use of force in the

circumstances is objectively reasonable.3        See Graham v. Connor,

490 U.S. 386, 396-97 (1989).    Plaintiff substantially resembled

the dispatcher's description of the armed robbery suspect.               Even

if excessive, a reasonable officer could believe that the degree

of force used was lawful.     The officers are entitled to qualified

immunity.   Defendants are entitled to summary judgment on

plaintiff's Section 1983 claim.

     Plaintiff seeks leave to file an amended complaint to better

indicate that he sues Johnson and Goodman in their individual

capacities, to eliminate his Section 1983 claim for violation of

the Fifth and Fourteenth Amendments, and to replace the

negligence claim against the police department with a negligence

claim against Johnson and Goodman.        The first two proposed

amendments are moot.

     The court will remand the state law claims to the Circuit

Court of the State of Oregon for Marion County.              The sole federal

claim is resolved in favor of defendants, and the court has not



     3
      Though the complaint alleges that Goodman assisted Johnson
in kicking plaintiff, there is no evidence that Goodman used
force against plaintiff, except to give verbal commands and hold
his gun at "low ready."

7 - ORDER
    Case 6:06-cv-06283-HO    Document 59    Filed 10/18/07     Page 8 of 8



expended significant resources such that duplication of effort

with the state court is a major concern.        Plaintiff's motion for

leave to file an amended complaint is therefore denied without

prejudice to plaintiff to file, in the state court, a motion for

leave to amend the negligence claim.

                               Discussion

     Based on the foregoing, defendant's motion for summary

judgment [#12] is granted as to plaintiff's Section 1983 claim,

and otherwise denied; plaintiff's motion for leave to file an

amended complaint [#31] is denied without prejudice as provided

herein.   Plaintiff's state law claims are remanded to the Circuit

Court of the State of Oregon for Marion County.              This action is

dismissed.

     It is so ordered.

     Dated this    17th     day of October, 2007.



                                          s/ Michael R. Hogan
                                       United States District Judge




8 - ORDER
